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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: PACKAGED SEAFOOD                           Case No.: 15-md-2670-JLS-MDD
12   PRODUCTS ANTITRUST LITIGATION
13
                                                        ORDER GRANTING JOINT
14   This Document Relates to:                          MOTION AND STIPULATION
                                                        FOR DISMISSAL WITH
15      (1) Meijer, Inc. et al v. Bumble Bee            PREJUDICE AGAINST COSI
            Foods, LLC, et al., 16-cv-0398              DEFENDANTS
16
        (2) Publix Super Markets, Inc. et al. v.        [ECF No. 2447]
17          Bumble Bee Foods, LLC, et al.,
            16-cv-0247
18
        (3) SuperValu Inc. v. Bumble Bee
19          Foods, LLC, et al., 17-cv-0951
20      (4) Super Stores Indus. v. Bumble Bee
            Foods, LLC et al., 17-cv-0950
21
        (5) Dollar General Corporation, et al.
22          v. Bumble Bee Foods, LLC, et al.
             17-cv-1744
23
        (6) Moran Foods, LLC v. Bumble Bee
24          Foods, LLC, et al. 17-cv-1744
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27         Presently before the Court is a Joint Motion and Stipulation to dismiss claims with
28   prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) filed by Meijer Inc.,

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 1   Meijer Distribution, Inc., Publix Super Markets, Inc., Wakefern Food Corp., SuperValu
 2   Inc., Unified Grocers, Inc., Associated Grocers of Florida, Inc., Super Store Industries,
 3   Dollar General Corporation, Dolgencorp, LLC, and Moran Foods, LLC’s (collectively,
 4   “Meijer Plaintiffs”) and Tri-Union Seafoods LLC d/b/a Chicken of the Sea International
 5   and Thai Union Group PCL. Good cause appearing, and in the absence of any objections,
 6   the Court GRANTS the joint motion and DISMISSES WITH PREJUDICE all claims
 7   by the Meijer Plaintiffs against Tri-Union Seafoods LLC d/b/a Chicken of the Sea
 8   International and Thai Union Group PCL.
 9         As stipulated, the parties shall bear their respective fees and costs.
10         IT IS SO ORDERED.
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12   Dated: January 8, 2021
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